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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF OREGON
                                          )
MARK WILSON,                              ) Case No. 6:21-cv-01606-SI
                                          )
             Plaintiff,
                                          )
     vs.                                  ) MOTION TO EXCEED WORD COUNT
JERRY PLANTE, RONNIE FOSS, JOSHUA         ) LIMIT FOR MEMORANDUM IN SUPPORT
HIGHBERGER, CRAIG PRINS, MELISSA          ) OF PLAINTIFF’S MOTION FOR PARTIAL
NOFZIGER, COLETTE PETERS, MARIE           ) SUMMARY JUDGMENT ON HIS SECOND
GARCIA and JOHN DOES 1-10,                ) CLAIM FOR RELIEF.
                                          )
                                          ) (Defendants take no position.)
              Defendants.                 )
                                          )


                                         MOTION

       Pursuant to LR 7-1, counsel for the plaintiff certifies that attorneys for the

plaintiff and all defendants have conferred in good faith about the matters at issue in this

motion. They have been unable to resolve the matters at issue herein without the filing of

this motion. Defendants take no position on this motion.


       Pursuant to LR 7-2(a)(1), Plaintiff seeks the Court’s approval to file a
memorandum that exceeds the length limit of 11,000 words or 35 pages. Based on the



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ON HIS SECOND CLAIM FOR RELIEF
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length of a much edited and carefully worded draft, Plaintiff requests leave to file a
memorandum not to exceed 66,000 words (194 pages) in length.

        Plaintiff has taken great care to draft and edit the Memorandum in Support of
Plaintiff’s Partial Motion for Summary Judgment, which pertains to Plaintiff’s Second
Claim for Relief. However, due to the number of issues raised and the complexity of
some of those issues, Plaintiff submits that a memorandum that exceeds the length limit
is necessary. The memorandum contains argument about many due process violations in
the disciplinary hearing process that culminated in Plaintiff being sanctioned to serve 120
days in Disciplinary Solitary Confinement. Argument pertains to violations in the
charging, the conduct of the disciplinary hearing, the basis of conviction, and the process

of review. Argument pertains to due process violations by defendants Plante, Foss,
Highberger, Prins, and Nofziger. Argument gives attention to doctrines that constrain a
prisoner’s ability to challenge due process violations that occur in the disciplinary

process. The length is due in part to quoted material that Plaintiff’s believes will be more
convenient for the court to reference as a block quote than as a summary followed by a
citation to an exhibit or case.
        Plaintiff makes this request for leave to exceed the length limit with respect for
the value of diligent editing, focused argument, and avoidance of collateral issues.



                                      CONCLUSION
        Plaintiff does not ask for leave to file a lengthy memorandum carelessly. For the
reasons stated above, a memorandum approaching 194 pages is necessary to fairly and
zealously present the arguments in support of Plaintiff’s motion.

DATED, and respectfully submitted this 9th day of May, 2023,


                                                      ____________________________
                                                      Benjamin Haile, OSB # 04066
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IN SUPPORT OF PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
ON HIS SECOND CLAIM FOR RELIEF
